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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


  UNITED STATES OF AMERICA
  v.
  MINAL PATEL, a/k/a Minalkumar Patel,
              Defendant.
  _______________________________________/

  UNITED STATES’ RESPONSE TO DEFENDANT’S OBJECTIONS TO PRESENTENCE
                        INVESTIGATION REPORT
         The United States of America, through undersigned counsel, respectfully submits this

  Response to Defendant Minal Patel’s Objections to the Presentence Investigation Report [D.E.

  526, “Defendant’s Objections”]. As stated in the United States’ Sentencing Memorandum [D.E.

  527], the United States has no objections to the Presentence Investigation Report’s (“PSR”)

  guidelines calculation and recommends that the Court adopt Probation’s calculation. 1 The United

  States hereby responds to certain factual objections in Defendant’s Objections. 2

         Paragraphs 17 & 18: Patel requests that the Court adopt a lengthy explanation of the use

  of genetic testing in the PSR’s description of the offense conduct. The PSR accurately describes

  the nature of the genetic tests at issue in this case and the means by which Patel misused these tests

  to justify his fraud scheme. Patel presented no evidence at trial justifying his assertions about the

  specific uses of genetic testing reflected in his objections. More importantly, Patel presented no

  evidence regarding Medneon or a database of genetic testing results, as he asserts in his objections.




  1
         The United States previously provided factual clarifications to the draft PSR to Probation
  and defense counsel, which were adopted in the final PSR.
  2
         The United States’ Sentencing Memorandum addressed Defendant’s legal arguments and
  Defendant’s proposed guidelines calculation. The United States does not repeat those arguments
  here.
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  The suggestion that Patel made any serious effort to improve patient care is belied by heaps of

  evidence showing that he repeatedly took advantage of patients for personal gain. This evidence

  is described in detail in the United States’ Sentencing Memorandum.

          Paragraphs 22 & 57: Patel owned LabSolutions for the entire time period of the

  conspiracy. Patel agreed in a deposition that he was the manager of LabSolutions, its founder, and

  that he had final say on any decisions at LabSolutions. GX 1115K. Patel signed the Medicare

  enrollment forms wherein he agreed that he was responsible for LabSolutions’ compliance with

  federal rules and regulations. 3 See GX 209A, 210A, 212A, 214A. In order to obtain the privilege

  of billing Medicare, Patel agreed that the buck stopped with him. Consistent with all of his post-

  trial pleadings, he continues to blame others whom he outranked. Patel’s continuous refusal to

  accept responsibility, even disputing his role within the company, should weigh heavily in the

  Court’s Section 3553(a) analysis. In any event, the evidence of Patel’s role at LabSolutions was

  largely undisputed at trial. The United States has never disputed that others were involved, but that

  does not change the fact that LabSolutions was Patel’s company, that he oversaw its operations,

  that he had final authority, and that he signed Medicare enrollment paperwork certifying his

  responsibilities.

          Furthermore, while Patel now objects to the suggestion that he was the architect of the

  scheme, testimony at trial proved that was exactly the role he played. In fact, Senthil Ramamurthy

  testified to precisely that fact: “The genetic testing was Minal’s brain child. … He was the architect

  of this whole thing.” 11/30/22 Tr. at 127:23-128:1.




  3
         Patel also signed enrollment forms for other providers, confirming that he was well-
  acquainted with the representations contained in those forms.
                                                    2
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         Paragraph 25: Patel is correct that LabSolutions paid marketers, who in turn paid

  telemedicine companies. However, Patel also directly paid companies managed by Sporn, who

  ran a marketing and telemedicine operation. The evidence at trial showed that LabSolutions paid

  approximately $4.6 million directly to companies Sporn operated. See, e.g., GX 124. This evidence

  was undisputed at trial.

         Paragraphs 32-34, 45-47: The jury convicted Patel of kickback counts and health care

  fraud counts. Patel’s objections merely dispute the jury’s verdicts.

         Paragraph 37:       Patel contends that wire transfers were executed by LabSolutions’

  employees. Regardless of who “executed” any given transfer, the undisputed evidence at trial

  showed that Patel was a signatory on the LabSolutions bank accounts. GX 139. The employee

  referenced in Patel’s objections was not a signatory on the accounts.

         Paragraph 54: Patel attempts to carve out so-called “legitimate” billing in the hopes that

  the Court will allow him to keep some of the millions of dollars he pocketed during the conspiracy

  period. 4 However, as the evidence at trial established, the ability to bill Medicare is a privilege

  conditioned on a provider’s truthful representations in enrollment forms and the provider’s

  continuous compliance with Medicare’s rules. Defendant committed a flagrant, sophisticated, and

  massive fraud. Had Medicare known of this criminal activity, none of Defendant’s claims would




  4
          Defendant’s attempt to carve up the billing does not impact the loss enhancement. Even if
  loss is limited to genetic testing (and there is no reason to limit loss in this manner), the billed
  amount falls within the same loss band for purposes of the guidelines calculation. Thus, the only
  reason for Defendant to pick apart the billing in this way is so that he can try to keep some of the
  money he stole. The Court should recognize this for what it is—a bold attempt to seek Court
  authorization to keep fraud proceeds. The Court should make the victims whole in this case by
  ordering full restitution.


                                                   3
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  have been paid, nor is it conceivable that Defendant would have retained the ability to bill

  Medicare for years. 5

         Furthermore, the evidence at trial showed that thousands of beneficiaries who LabSolutions

  billed for cancer genetic tests were also billed by LabSolutions for other types of tests beyond

  cancer genetic testing. Thus, Defendant’s fraudulent practices resulted in more than just genetic

  testing billing, as Defendant apparently attempted to squeeze as much billing as possible out of

  these beneficiaries. E.g., GX 114.

         The United States takes no position on Defendant’s statements about his personal offender

  characteristics. However, for the reasons stated in the United States’ Sentencing Memorandum,

  these personal characteristics are far outweighed by the other Section 3553(a) factors, namely, the

  seriousness of the offense, the need for general and specific deterrence, the need to promote respect

  for the rule of law, and the substantial terms of imprisonment imposed on other health care fraud

  cases where the defendants were convicted at trial.




  5
           Indeed, Medicare excludes persons with health care fraud convictions from enrolling as
  providers or owning providers. Had Defendant’s scheme been uncovered and prosecuted after the
  first fraudulent bill was submitted, Defendant would not have been able to submit any further bills
  to Medicare or own a provider that submitted those bills.
                                                   4
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                                         CONCLUSION

         For the foregoing reasons, the United States requests that the Court overrule certain of

  Defendant’s factual objections to the PSR.

  Dated: August 12, 2023               Respectfully submitted,
                                       MARKENZY LAPOINTE
                                       UNITED STATES ATTORNEY
                                       SOUTHERN DISTRICT OF FLORIDA

                                       GLENN S. LEON, CHIEF
                                       CRIMINAL DIVISION, FRAUD SECTION
                                       U.S. DEPARTMENT OF JUSTICE

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                                 CERTIFICATE OF SERVICE


         I hereby certify that, on August 12, 2023, I served and filed the foregoing document with
  the Clerk of the Court via ECF.


         By:     /s/ Jamie de Boer



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